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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI

THOSE CERTAIN UNDERWRITERS AT
LLOYD’S, LONDON, SUBSCRIBING TO             )
CERTIFICATE NO. SUAWSD50147-2001,           )
                                            )
      Plaintiff,                            )
                                            )
vs.                                         )     Case No.: 4:23-cv-00099-JMB
                                            )
U-DRIVE ACCEPTANCE CORPORATION,             )
INC. and DEBRA SUE HAMMONS,                 )
                                            )
      Defendants.                           )



               PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT
             OF THEIR PHASE I MOTION FOR SUMMARY JUDGMENT
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         Plaintiffs, Those Certain Underwriters at Lloyd’s, London, subscribing to Certificate

No. SUAWSD50147-2001 (“Underwriters”), for their Memorandum of Law in Support of their

Phase I Motion for Summary Judgment1 against Defendants, U-Drive Acceptance Corporation

(“U-Drive”) and Debra Sue Hammons (“Hammons”), state as follows:

                                         INTRODUCTION

         Underwriters issued U-Drive a claims-made management liability policy effective from

January 29, 2020 to January 29, 2021, with a Retroactive Date of January 29, 2020 (the

“Policy”). The Policy is triggered by claims made during the policy period, but excludes losses

in connection with a claim involving any wrongful acts committed or alleged to have been

committed prior to January 29, 2020, the Policy’s Retroactive Date. Hammons filed a

counterclaim (the “Counterclaim”) against U-Drive seeking damages and injunctive relief for its

improper presale notice of March 30, 2017 (the “Presale Notice”) and post-sale notice of May

16, 2017 (the “Post-Sale Notice”) that allegedly resulted in the wrongful repossession of her

vehicle in violation of the UCC and Missouri UCC.

         Hammons alleged wrongful acts committed exclusively on March 30, 2017 and May 16,

2017, over two years prior to the policy’s Retroactive Date. Applying the applicable legal

standard of comparing Hammons’s allegations with the terms of the Policy, no duty to defend or

indemnify exists because the Counterclaim involves wrongful acts committed prior to the

Retroactive Date. As detailed below, there are no factual matters in dispute and the only issues

are questions of law. On that basis, Underwriters are entitled to summary judgment declaring

that they owe no duty to defend or indemnify U-Drive because the Policy does not afford



1
  Pursuant to the Court’s Amended Scheduling Order [ECF No. 33], Phase I includes dispositive motions
pertaining to the duty to defend issue and Phase II, if necessary, would proceed after the conclusion of
Phase I and be scheduled at a later date.

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coverage for a claim involving alleged wrongful acts that took place long before the Retroactive

Date of the Policy.

                                 UNCONTROVERTED FACTS

A.       UNDERLYING HAMMONS ACTION

         On August 18, 2019, U-Drive filed a Petition against Debra Sue Hammons in the Circuit

Court of Boone County attempting to recover a money judgment under a retail installment

contract for a 2007 Subaru Forester purchased by Hammons (the “Hammons Action”).

(SOF ¶14) On September 18, 2020, Hammons filed her First Amended Answer and

Counterclaim to the Petition and asserted a putative class action against U-Drive (the

“Counterclaim”).2     (SOF ¶15) Hammons alleged an unlawful and deceptive pattern of

wrongdoing by U-Drive in the collection, enforcement, repossession, disposition of collateral, as

well as deficiencies in violation of the UCC and Missouri UCC. (SOF ¶16)

         Hammons’s Counterclaim alleged that she signed a consumer credit contract for the

purchase of a motor vehicle and that, when she fell behind on payments, U-Drive took

possession of the vehicle. (SOF ¶17) Significantly, Hammons alleged that, before repossessing

the vehicle, U-Drive mailed her a pre-disposition document titled “Notice of Our Plan to Sell

Property” dated March 30, 2017 (the “Presale Notice”) and a post-sale “Notice of Sale of

Collateral and Possible Deficiency” dated May 16, 2017 (the “Post-Sale Notice”). (SOF ¶18)

         Count I alleged that U-Drive’s Presale Notice violated the UCC and that, because

U-Drive failed to comply with the requirements of Subchapter 6 of Article 9 of the UCC and

reported derogatory information about the class members’ accounts, Hammons and the proposed

class allegedly suffered actual damages under §400.9-625(c)(2) of the UCC.                (SOF ¶19)


2
  All references to the “Hammons Action” herein are inclusive of the Counterclaim. The Counterclaim is
attached to the SOF as Exhibit 2.

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Hammons requested class certification, statutory damages, preliminary and permanent

injunctions, and a declaration that the Presale Notice sent to Hammons and the class failed to

comply with the statutory requirements. (SOF ¶20) Under Count II (Missouri Subclass’s

Claim), Hammons alleged that U-Drive’s presale and post-sale notices violated the Missouri

UCC and requested certification of a Missouri subclass. (SOF ¶21) Count II requested actual

damages, statutory damages, pre- and post-judgment interest, attorney’s fees, punitive damages,

and various injunctive and declaratory relief. 3 (SOF ¶22)

         Underwriters defended U-Drive throughout the Hammons Action pursuant to a

reservation of rights to deny coverage, including any duty to defend or indemnify U-Drive for

any settlement or judgment in the Hammons Action. (SOF ¶23) Pursuant to its reservation of

rights, Underwriters agreed to pay independent attorneys of U-Drive’s choice to defend the

Hammons Action.4 (SOF ¶23)

B.       THE POLICY

         Underwriters issued a claims-made Management Liability Policy, with Certificate

No. SUAWSD50147-2001, to U-Drive, effective January 29, 2020 to January 29, 2021, with a

Retroactive Date of January 29, 2020 (the “Policy”). (SOF ¶6) The Policy was sent to the

address of U-Drive’s headquarters at 1119 4th Street, Suite 102, Sioux City, Iowa. (SOF ¶7)

         The relevant Insuring Agreement of the Policy provides that “Underwriters shall pay on

behalf of the COMPANY [i.e., U-Drive] LOSS resulting from a CLAIM first made against the




3
 On August 15, 2021, the court in the Hammons Action granted class certification of the Class and
Missouri Subclass under Rule 52.08. (SOF ¶24)
4
  Although not directly relevant to the present Phase I motion pertaining to the duty to defend, on
November 8, 2023, the Hammons court entered a judgment against U-Drive as discovery sanctions,
including a money judgment and injunctive relief. (SOF ¶29) On November 30, 2023, the court awarded
attorney’s fees and costs and approved an incentive payment to the class representative. (SOF ¶30)

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COMPANY [i.e., U-Drive] during the POLICY PERIOD for a WRONGFUL ACT and

reported to Underwriters in accordance with Section VI. of the Policy.” (SOF ¶11)

       The Policy defines LOSS, in pertinent part, as “monetary damages, settlements,

judgments and statutory attorneys’ fees awarded which the INSURED is legally obligated to pay

in response to a covered CLAIM…and DEFENSE COSTS.” (SOF ¶12)

       The Policy defines WRONGFUL ACT as “any actual or alleged act, error or omission,

including misstatement, misleading statement, neglect or breach of duty committed by…the

COMPANY.” CLAIM is defined, in pertinent part, as “a civil…proceeding for monetary or

non-monetary relief received by an INSURED which is commenced by service of suit….”

(SOF ¶12)

       The Policy contains a Retroactive Date Exclusion (the “Retroactive Date Exclusion”)

stating, “This Policy shall not apply to LOSS in connection with any CLAIM: Involving any

WRONGFUL ACT committed or alleged to have been committed prior to the Retroactive Date

stated in Item 6 of the Declarations [January 29, 2020].”          (SOF ¶13)     By operation of

Section VI.D. of the General Terms and Provisions of the Policy, “CLAIM(S) arising out of a

single WRONGFUL ACT, or INTERRELATED WRONGFUL ACTS, shall be treated as a

single CLAIM, and such single CLAIM shall be considered first made…when the earliest

CLAIM within such single CLAIM was first made. . .” (emphasis added). INTERRELATED

WRONGFUL ACTS is defined as “WRONGFUL ACTS that have as a common nexus any

fact, circumstance, situation, events or transaction or series of facts, circumstances, situations,

events or transactions.” (SOF ¶10)

       The Policy provides that Underwriters shall have the right and duty to defend U-Drive

against any CLAIM to which the insurance applies, even if any of the allegations of the CLAIM

are groundless, false or fraudulent. (SOF ¶8) DEFENSE COSTS is defined, in pertinent part,

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as “reasonable and necessary fees and expenses incurred with the approval of Underwriters in

connection with the investigation, adjustment, settlement, defense or appeal of a CLAIM made

against the INSURED for a WRONGFUL ACT. . .” (SOF ¶9)

                                   STANDARD OF REVIEW

       Summary judgment is proper where there is no genuine issue as to any material fact and

the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-588 (1986). The moving party bears

the burden of establishing there is no material fact in dispute that precludes judgment as a matter

of law. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). Once the moving party makes an

initial showing that it is entitled to judgment, the non-moving party must set forth facts,

supported by evidence, showing that a genuine issue for trial exists. Id. at 324. Insurance

disputes are particularly well suited for summary judgment because the proper construction of an

insurance contract is always an issue of law for the court. Modern Equipment Co. v. Cont’l W.

Ins. Co., 355 F.3d 1125, 1128 (8th Cir. 2004).

                                          ARGUMENT

I.     CHOICE OF LAW

       The Policy does not contain a choice of law provision. The two potentially applicable

state laws that could apply are Iowa, where the insurance policy was entered into, or Missouri,

where the Hammons Action was filed. Underwriters should prevail under Iowa or Missouri law,

which are consistent regarding application of the duty to defend standards and many of the

pertinent coverage issues. See Brown v. Home Ins. Co., 176 F.3d 1102, 1105 (8th Cir. 1999)

(under Missouri law, a conflict does not exist unless the interests of the relevant states cannot be

reconciled). However, to the extent that a conflict exists between these two states, Iowa law

should control.

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         Missouri applies sections 1885 and 193 of the Restatement (Second) of Conflict of Laws

(1971) for choice-of-law issues in casualty insurance contracts. In Viacom, Inc. v. Transit Cas.

Co., 138 S.W.3d 723, 724-25 (Mo. 2004), the court held that Pennsylvania law applied to a

coverage dispute, reasoning that the insured was incorporated in Pennsylvania, the policies were

contracted for and negotiated in Pennsylvania, and the Policies were delivered in Pennsylvania.

         Section 193 of the Restatement states that the "validity of. . .[the] insurance and the rights

created thereby are determined by the local law of the state which the parties understood was to

be the principal location of the insured risk during the term of the policy. . . ." Under

Section 193, comment b, the location of the insured risk is given greater weight than any other

single contact in determining which state's law controls, although less weight when the policy

covers a group of risks scattered throughout two or more states.

         In Viacom, Inc. v. Transit Cas. Co., 138 S.W.3d 723, 724 (Mo. 2004), applying Sections

188 and 193, the Missouri Supreme Court reversed the lower court and held that Pennsylvania

law applied to a coverage dispute, reasoning that the insured was incorporated in Pennsylvania,

the policies were contracted for and negotiated in Pennsylvania, and the Policies were delivered

in Pennsylvania. Significantly, the Supreme Court found that Pennsylvania law applied despite

the fact that the underlying toxic tort suit was brought in Missouri.

         In this case, U-Drive is an Iowa corporation with its principal place of business also

located in Iowa and the Policy was delivered to U-Drive’s business address in Sioux City, Iowa.

The only other state with contacts is Missouri because the alleged improper notices were sent


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  Section 188 applies to policies like the one at issue here, which has no choice-of-law provision. It
provides that the law of the state with the most significant relationship to the transaction and parties
governs. Restatement (Second) of Conflict of Laws section 188(1). Section 188(2) also provides what
contacts are considered: "(a) the place of contracting, (b) the place of negotiation of the contract, (c) the
place of performance, (d) the location of the subject matter of the contract, and (e) the domicile,
residence, nationality, place of incorporation and place of business of the parties."

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from Iowa to Missouri, Hammons resides in Missouri, and the Hammons Action was filed in

Missouri. Pursuant to Section 193, Iowa was the principal location of the insured risk during the

term of the Policy and its laws should apply in the event of a conflict.

       Again, the above may be academic because the laws of Iowa and Missouri are consistent

regarding application of the duty to defend. However, neither state has law on point regarding

application of the Retroactive Date Exclusion. Thus, Underwriters rely on the laws of Iowa,

Missouri and, to the extent there is no law directly on point, the laws of other states.

II.    UNDERWRITERS OWE NO DUTY TO DEFEND OR INDEMNIFY U-DRIVE FOR THE
       HAMMONS ACTION BECAUSE ALL OF THE ALLEGED “WRONGFUL ACTS” PRECEDED
       THE RETROACTIVE DATE IN THE POLICY BY OVER TWO YEARS

       The “Wrongful Acts” that form the basis of the Counterclaim consist solely of two letters

sent by U-Drive to Hammons in 2017 (i.e., the Presale Notice and Post-Sale Notice). Because

both letters preceded the January 29, 2020 Retroactive Date of the Policy, the Retroactive Date

Exclusion applies to bar coverage for the Hammons Action in its entirety.

       A.      Rules of Policy Construction

       In Iowa, the construction and interpretation of an insurance policy is a question of law for

the court to decide. Johnson v. Farm Bureau Mut. Ins. Co., 533 N.W.2d 203, 206 (Iowa 1995).

The court must construe an insurance policy to give effect to the intent of the parties.

R & J Enterprizes v. General Cas. Co., 627 F.3d 723, 726 (8th Cir. 2010) (Iowa law). The

policy is to be construed as a whole, giving the words used their ordinary, not technical meaning,

to achieve a practical and fair interpretation. Gracey v. Heritage Mut. Ins. Co., 518 N.W.2d 372,

373 (Iowa 1994).

       In Missouri, the interpretation of an insurance policy is likewise a question of law.

Schmitz v. Great Am. Assurance Co., 337 S.W.3d 700, 705 (Mo. 2011). "Missouri courts read

insurance contracts 'as a whole and determine the intent of the parties, giving effect to that intent

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by enforcing the contract as written.'" Lafollette v. Liberty Mut. Fire Ins. Co., 139 F. Supp. 3d

1017, 1021 (W.D. Mo. 2015) (quoting Thiemann v. Columbia Pub. Sch. Dist., 338 S.W.3d 835,

840 (Mo. App. W.D. 2011)).

       B.      Duty to Defend Principles

       Iowa law provides that an insurer's duty to defend arises whenever there is a potential or

possible liability to pay based on the facts at the outset of the case and is not dependent on the

probable liability to pay based on the facts ascertained through trial. McAndrews v. Farm

Bureau Mut. Ins. Co., 349 N.W.2d 117, 119 (Iowa 1984) (citing 7C J. Appleman, Insurance Law

and Practice § 4684, at 83 (Berdal ed. 1979) (emphasis added). The "facts at the outset of the

case" under this test have traditionally been those alleged in the petition in the suit against the

insured. Id. § 4683, at 42. See also Chipokas v. Travelers Indem. Co., 267 N.W.2d 393, 395

(Iowa 1978) ("In deciding whether an insurer has a duty to defend, the first query is into

plaintiff's pleadings to see if the pleadings state facts which bring the claim within the liability

covered by the policy."). It is expedient to first resolve whether there is a duty to defend because

that duty is broader than the duty to indemnify. Stine Seed Farm, Inc. v. Farm Bureau Mut. Ins.

Co., 591 N.W.2d 17, 18 (Iowa 1999) (citing A.Y. McDonald Indus., Inc. v. Insurance Co. of

N. Am., 475 N.W.2d 607, 627 (Iowa 1991)). Further, if there is no duty to defend, there is no

duty to indemnify either. Stine Seed Farm, Inc. v. Farm Bureau Mut. Ins. Co., 591 N.W.2d 17,

18 (Iowa 1999).

       The law of Missouri regarding the duty to defend is consistent with Iowa law. The duty

to defend is analyzed by comparing the language of the policy with the allegations in the

complaint, and if the complaint alleges facts that give rise to a potential claim within coverage,

the duty to defend arises. McCormack Baron Mgmt. Servs., Inc. v. American Guar. & Liab. Ins.

Co., 989 S.W.2d 168, 170 (Mo. 1999). Missouri law is also clear that "[w]here there is no duty

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to defend, there is no duty to indemnify." View Home Owners Ass'n v. Burlington Ins. Co.,

552 S.W.3d 726, 733 (Mo. Ct. App. 2018) (internal citations omitted); see also Brand v. Kan.

City Gastroenterology & Hepatology, LLC, 414 S.W.3d 546, 556 (Mo. Ct. App. 2013) (holding

no duty to defend resulted in no duty to indemnify).

       C.      Both Iowa and Missouri Courts Hold there is No Duty to Defend Claims that
               are Not Potentially Covered Under an Insurance Policy

       In Hasbrouck v. St. Paul Fire & Marine Ins. Co., 511 N.W.2d 364 (Iowa 1993), the Iowa

Supreme Court considered whether there was a duty to defend a physician under a claims-made

professional liability policy with respect to a medical malpractice suit. The policy extended

coverage to all claims first made during the policy period and required the insured to report such

claims to the insurer within the policy period. The patient and her spouse sued the doctor within

the policy period, but the doctor failed to report the suit to his insurer until after the policy had

lapsed. The Hasbrouck court held there was no duty to defend or indemnify under the policy

because the insured failed to report the claim to the insurer during the policy period, a

prerequisite to coverage. See also Farm Bureau Life Ins. Co. v. Chubb Custom Ins. Co.,

780 N.W.2d 735, 741 (Iowa 2010) (holding timely notice was one of the basic and essential

provisions in the claims made policy and required strict compliance).

       In Chipokas v. Travelers Indem. Co., 267 N.W.2d 393 (Iowa 1978), the Iowa Supreme

Court considered whether there was a duty to defend under a professional liability policy for

several underlying actions resulting from an alleged conspiracy to forge a will. Travelers refused

to defend the insured, who was ultimately successful in defeating the claims. In determining the

duty to defend, the court considered whether the allegations in the complaint brought against the

insured on its face alleged facts which fell within the coverage of the liability policy. The

Chipokas court stressed that “…the great weight of authority supports the view…which



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generally limits the obligation to defend to those claims which would be covered under the

liability policy.” Id. at 396. The court ultimately held that the allegations of fraud in the

underlying suit were excluded from coverage and, hence, Travelers owed no duty to defend. See

also Continental Ins. Co. v. Bones, 596 N.W.2d 552, 561 (Iowa 1999) (allegations in complaint

for wrongful eviction were not an occurrence under the policy and holding no duty to defend or

indemnify the insured).

       In Genesis Ins. Co. v. City of Council Bluffs, 677 F.3d 806, 810 (8th Cir. 2012), applying

Iowa law, the court held that the tort of malicious prosecution occurs for insurance purposes on

the date the underlying charges were filed against the insured, which was before the beginning of

the policy period. Thus, the Eighth Circuit, predicting how the Iowa Supreme Court would rule,

held that the insurer owed no duty to defend or indemnify the insured as a matter of law.

       Missouri law is consistent and makes clear that the same duty to defend standard applies

to class actions. In Universal Underwriters Ins. Co. v. Lou Fusz Auto. Network, Inc., 401 F.3d

876, 879 (8th Cir. 2005), the insurer sought a declaration that there was no duty to defend or

indemnify Lou Fusz against a class action complaint for unsolicited fax advertisements that

allegedly violated the TCPA. Under Missouri law, a “duty to defend exists where there is a

potential liability.” Id. The duty to defend is determined by comparing the relevant policy

provisions with the allegations in the complaint and the facts that the insurer could have

reasonably known. Zeiser Motors, Inc. v. Sentry Select Ins. Co., Case No. 4:10CV1261 CDP,

2011 U.S. Dist. LEXIS 44835, at *5 (E.D. Mo. April 26, 2011) (Penn-Star Ins. Co. v. Griffey,

306 S.W. 591, 596-97 (Mo. Ct. App. 2010)). The court ultimately held that a duty to defend was

invoked because the complaint alleged injury and actual damages under the policy, although

some of the requested relief may not ultimately be covered.




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       In Zeiser Motors, Inc. v. Sentry Select Ins. Co., 2011 U.S. Dist. LEXIS 44835 (E.D. Mo.

2011), the court considered the duty to defend a class action complaint alleging that Zeiser, a

seller of automobiles, improperly charged the proposed class a document preparation fee in

violation of Missouri statutes, and also committed negligence. The complaint alleged negligent,

reckless, intentional and malicious conduct, and sought punitive damages. The policy covered

negligent conduct, but excluded dishonest, malicious, fraudulent, criminal, or intentional acts or

omissions.

       The court began its analysis by observing that, under Missouri law, a duty to defend is

determined by comparing the allegations of liability in the petition against the relevant policy

provisions. The court then proceeded to hold that there was no duty to defend under Coverage A

for errors or omissions that result in civil violations of state or federal truth-in-lending statutes

because there were no allegations that Zeiser violated a truth-in-lending statute, only that it

engaged in malicious and intentional conduct.6

       D.      Underwriters Owe No Duty to Defend or Indemnify U-Drive for the
               Hammons Action Based on the Retroactive Date Exclusion Because
               U-Drive’s Allegedly Unlawful Presale and Post-Sale Notices Were Allegedly
               Sent and Received in 2017, Almost Three Years Before the Policy’s
               Retroactive Date of January 29, 2020.

       Under both Iowa and Missouri law, Underwriters owe no duty to defend or indemnify

U-Drive with respect to the Hammons Action because, when comparing the allegations in the

class action Counterclaim against the provisions in the Policy, there is no potential coverage.

Specifically, the “Wrongful Acts” alleged by Hammons against U-Drive took place more than

two years before the Retroactive Date of the Policy, and thus, the Retroactive Date Exclusion

applies to bar coverage for the Hammons Action in its entirety.


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 The Zeiser court went on to hold that a duty to defend existed under separate Coverage D (errors and
omissions) because the petition alleged negligent conduct in addition to intentional conduct.

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        The Retroactive Date Exclusion of the Policy explicitly states that it shall not apply to

LOSS in connection with any CLAIM involving any WRONGFUL ACT committed or alleged

to have been committed prior to the Retroactive Date stated in Item 6 of the Declarations

[January 29, 2020].      The Policy defines a CLAIM to include “a civil proceeding” and a

WRONGFUL ACT as “any actual or alleged act, error or omission, including misstatement,

misleading statement, neglect or breach of duty committed by…the COMPANY.”

        Here, there can be no dispute that the Counterclaim constitutes a civil proceeding and

thus a “CLAIM” under the Policy. Further, there can be no dispute that the “WRONGFUL

ACTS” that form the basis of such “CLAIM” consist of the March 30, 2017 Presale Notice and

the May 16, 2017 Post-Sale Notice alleged in and attached to the Counterclaim. All this Court

need do then is apply the plain language of the Retroactive Date Exclusion to these facts. In

doing so, there can only be one conclusion: the Counterclaim is a “CLAIM…[i]nvolving any

WRONGFUL ACT committed or alleged to have been committed prior to the Retroactive Date

stated in Item 6 of the Declarations [i.e., January 29, 2020].”7 Coverage is therefore excluded for

the Hammons Action by the plain terms of the Retroactive Date Exclusion.

        E.      Courts in Multiple Jurisdictions have Applied Retroactive Date Exclusions
                Similar to the Policy’s Exclusion to Bar Coverage for Claims Involving
                Alleged Wrongful Acts that Preceded the Retroactive Date

        Underwriters did not locate any case authorities decided under Iowa or Missouri law

addressing the exact language of the Retroactive Date Exclusion at issue. However, multiple




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  Although not controlling on the duty to defend analysis, the Court in the Hammons Action ultimately
granted class certification and awarded the class plaintiffs judgment based on the legal deficiencies of
U-Drive's pre-sale and post-sale notices, which form the actual basis for U-Drive’s liability to the class
and to Hammons herself as the class representative. See, e.g., SW Design Build, Inc. v. Auto-Owners Ins.,
No. 3:16-cv-82, 2017 U.S. Dist. LEXIS 215504, at *28 (D.N.D. Sep. 29, 2017) (emphasis added) ("[t]he
duty to indemnify is premised upon the ultimate resolution of the underlying lawsuit and the actual basis
for any liability of the insured.").

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courts in other jurisdictions have not hesitated to enforce similarly worded exclusions to bar

coverage.

          For example, in Ferguson v. General Star Indem. Co., 582 F. Supp. 2d 91 (Dist. Mass

2008), the court considered whether a legal malpractice suit was subject to a duty to defend or

indemnify under a claims-made lawyers professional liability policy with a retroactive date of

September 12, 1997. The insured estate planning attorney allegedly failed to file federal and

state tax returns (or to make a tax election in 1994), resulting in substantial interest and penalties

that were not paid, some of which were after the retroactive date. General Star denied coverage,

asserting that the claims arose out of events that preceded the retroactive date, and the court

agreed.

          The policy in Ferguson provided that “[t]he policy does not apply to CLAIMS arising out

of negligent act(s), error(s), or omission(s) which took place prior to the Retroactive Date[.]”

The Ferguson court held that the retroactive date exclusion applied because the events alleged in

the complaint arose out of events that took place prior to the retroactive date of September 12,

1997—the failure to file tax returns—even if they took place in part as a “continuing scheme of

wrongdoing” that continued after the retroactive date. The Ferguson court thus held that there

was no duty to defend or indemnify the insured based on the retroactive date exclusion.

          Similarly, in Foster v. Summit Med. Sys., 610 N.W.2d 350 (Minn. Ct. App. 2000), the

Minnesota Court of Appeals considered whether a retroactive date exclusion in a claims-made

directors and officers (“D&O”) policy barred coverage for ten separate securities lawsuits and an

independent SEC investigation resulting from a scheme to inflate revenues through letters of

intent and sham transactions. There, the policies covered loss resulting from a claim made

during the policy period for a wrongful act. However, coverage was limited by a retroactive date




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exclusion, which barred coverage for any claim arising out of any wrongful act actually or

allegedly committed prior to June 21, 1995, or interrelated wrongful acts committed thereafter.

       In analyzing the applicability of the policy’s retroactive date exclusion, the Foster court

found that the subject scheme involved repetition of the same transactions, with each series of

transactions comprised of interrelated acts that occurred both before and after the retroactive

date. Consequently, the court held that each element of the retroactive date exclusion was

satisfied and that coverage was barred for the underlying actions as a matter of law.

       In Lifelock, Inc. v. Certain Underwriters at Lloyd's, 146 A.D.3d 565, 45 N.Y.S.3d 78

(App. Div. 1st Dept. 2017), the New York intermediate appellate court reached a similar

conclusion where the underlying retroactive date exclusion barred coverage for claims arising

out of any related or continuing acts where the first such act was committed prior to the

retroactive date. There, six of the eight causes of action alleged in the underlying complaint

were expressly based on allegations of acts performed before 2008 and the remaining two counts

incorporated those allegations.    Under the circumstances, the appellate court held that the

underlying complaint fell entirely within the retroactive date exclusion and that coverage was

barred. See also County of Dutchess v. Argonaut Ins. Co., 150 A.D.3d 672, 673 (App. Div. 2017)

(coverage excluded because wrongful acts were allegedly first committed prior to policy’s

effective date)

       Like the courts in Ferguson, American Southwest, Foster and Lifelock, this Court should

enforce the plain language of the Retroactive Date Exclusion to preclude coverage for the

Hammons Action. The intent of the Retroactive Date Exclusion could not be more clear: it

excludes coverage for “any CLAIM involving any WRONGFUL ACT committed or alleged to

have been committed prior to the Retroactive Date stated in Item 6 of the Declarations [January

29, 2020].”       (Emphasis in underscore added.)    As demonstrated above, the Counterclaim

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constitutes a “CLAIM,” as defined by the Policy, and the March 30, 2017 Presale Notice and the

May 16, 2017 Post-Sale Notice upon which that “CLAIM” is based are “WRONGFUL ACTS

committed or alleged to have been committed prior to the Retroactive Date stated in Item 6 of

the Declarations [January 29, 2020].” Accordingly, the Retroactive Date Exclusion

unambiguously applies to bar coverage for the Hammons Action in its entirety.

                                        CONCLUSION

       For these reasons, Underwriters respectfully request that this Court enter summary

judgment in their favor under Phase I and enter the specific relief requested in the accompanying

Motion for Summary Judgment.

Dated: February 24, 2024

                             ORAL ARGUMENT REQUESTED


                                                Respectfully submitted,

                                                THOSE CERTAIN UNDERWRITERS AT
                                                LLOYD’S, LONDON, SUBSCRIBING TO
                                                CERTIFICATE NO. SUAWSD50147-2001

                                                By: /s/: Howard J. Fishman
                                                    One of their attorneys

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                             CERTIFICATE OF SERVICE

         I, Howard J. Fishman, an attorney of record in this matter, hereby state that I
electronically filed the foregoing, PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS
MOTION FOR SUMMARY JUDGMENT, using the CM/ECF SYSTEM, which will send notification
to all attorneys of record on this the 24th day of February 2024.



                                               /s/: Howard J. Fishman
                                               One of their attorneys for Plaintiff,
                                               THOSE CERTAIN UNDERWRITERS AT
                                               LLOYD’S, LONDON, SUBSCRIBING TO
                                               CERTIFICATE NO. SUAWSD50147-2001




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